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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


 Derrick Lee Cardello-Smith,

                         Plaintiff,      Case No. 24-13459

 v.                                      Judith E. Levy
                                         United States District Judge
 Sean Combs,
                         Defendants      Mag. Judge Kimberly G. Altman

 ________________________________/


                         OPINION AND ORDER

      On June 10, 2024, pro se Plaintiff Derrick Lee Cardello-Smith filed

this action in state court against Defendant Sean Combs. On October 7,

2024, Defendant Sean Combs removed the action to this Court. On

January 22, 2025, the Court issued an opinion and order dismissing the

case with prejudice. (ECF No. 92.)

      In its opinion on January 22, 2025, the Court “caution[ed] Plaintiff

to refrain from duplicative, frivolous, or harassing filings, including the

filing of additional lawsuits related to the allegations in this case or the

filing of unnecessary papers on the dockets of cases that have been

dismissed.” (ECF No. 92, PageID.1749 (emphasis added).) The Court
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warned that “[f]ailure to heed this warning will result in significant

prefiling restrictions being placed on Plaintiff.” (Id.) It further warned

that “failure to heed the Court’s warnings put[s] him at risk of incurring

monetary sanctions.” (Id. at PageID.1751.)

      In an opinion and order on March 4, 2025, the Court reiterated,

“Plaintiff continues to file repetitive and meritless motions in violation of

the Court’s warnings” and stated that “further violation of these

warnings may result in an order enjoining him from future filings.” (ECF

No. 107, PageID.1826.)

      “There is nothing unusual about imposing prefiling restrictions in

matters with a history of repetitive or vexatious litigation.” Feathers v.

Chevron U.S.A., Inc., 141 F.3d 264, 269 (6th Cir. 1998)). “The filing of

frivolous lawsuits and motions strains an already burdened federal

judiciary.” Viola v. Cuyahoga Cnty. Land Bank, No. 1:21 CV 1196, 2021

WL 5015486, at *9 (N.D. Ohio Oct. 28, 2021), aff’d sub nom. Viola v.

Cuyahoga Cnty. Land Reutilization Corp., No. 21-4139, 2023 WL

3725063 (6th Cir. Feb. 15, 2023). “Our ability to perform our duties is

compromised when we are forced to devote limited resources to the




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processing of repetitious and frivolous filings.” Id. (citing In re Sindram,

498 U.S. 177, 179–80 (1991)).

      The Court gives a final warning to Plaintiff to refrain from

duplicative, frivolous, fraudulent, or harassing filings. Failure to heed

this warning will result in significant pre-filing restrictions being placed

on Plaintiff, which may include the following: no further filings will be

accepted in this matter; any future related filings will be stricken, even

if filed in a separate case; and Plaintiff will be enjoined from filing any

new lawsuits or other documents without first seeking and obtaining

leave of the Court.

      IT IS SO ORDERED.

Dated: April 28, 2025               s/Judith E. Levy
     Ann Arbor, Michigan            JUDITH E. LEVY
                                    United States District Judge


                      CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on April 28, 2025.

                                          s/William Barkholz
                                          WILLIAM BARKHOLZ
                                          Case Manager

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